                       Case 8:17-cv-00596-AG-JCG Document 158 Filed 09/18/18 Page 1 of 5 Page ID #:5673



                          1    RUSS AUGUST & KABAT
                               Marc A. Fenster, CA SBN 181067
                          2
                               mfenster@raklaw.com
                          3    Reza Mirzaie, CA SBN 246953
                               rmirzaie@raklaw.com
                          4
                               Philip X. Wang, CA SBN 262239
                          5    pwang@raklaw.com
                               Kent N. Shum, CA SBN 259189
                          6
                               kshum@raklaw.com
                          7    Christian Conkle, CA SBN 306374
                               cconkle@raklaw.com
                          8
                               Minna Y. Chan, CA SBN 305941
                          9    mchan@raklaw.com
                               12424 Wilshire Boulevard, 12th Floor
                         10
                               Los Angeles, California 90025
                         11    Tele:     310/826-7474
RUSS, AUGUST & KABAT




                         12    Fax:      310/826-6991

                         13    Attorneys for Plaintiff
                         14    XR COMMUNICATIONS, LLC,
                               dba VIVATO TECHNOLOGIES
                         15
                         16                       UNITED STATES DISTRICT COURT
                         17                      CENTRAL DISTRICT OF CALIFORNIA
                         18
                         19   XR COMMUNICATIONS, LLC, dba                          8:17-cv-00596-AG(JCGx)
                         20   VIVATO TECHNOLOGIES,                                 LEAD CASE

                         21                      Plaintiff,                        JOINT STIPULATION OF
                                                                                   DISIMISSAL WITH PREJUDICE
                         22                v.
                         23   D-LINK SYSTEMS, INC.,
                         24
                                                 Defendant.
                         25
                         26   XR COMMUNICATIONS, LLC, dba                          5:17-cv-00744-AG(JCGx)
                         27   VIVATO TECHNOLOGIES,

                         28                      Plaintiff,


                                                          JOINT STIPULATION OF DISIMISSAL WITH PREJUDICE
                       Case 8:17-cv-00596-AG-JCG Document 158 Filed 09/18/18 Page 2 of 5 Page ID #:5674



                          1               v.

                          2   NEWO CORPORATION,
                          3                     Defendant.
                          4
                          5
                          6
                          7
                          8
                          9
                         10
                         11
RUSS, AUGUST & KABAT




                         12
                         13
                         14
                         15
                         16
                         17
                         18
                         19
                         20
                         21
                         22
                         23
                         24
                         25
                         26
                         27
                         28


                                                       JOINT STIPULATION OF DISIMISSAL WITH PREJUDICE
                       Case 8:17-cv-00596-AG-JCG Document 158 Filed 09/18/18 Page 3 of 5 Page ID #:5675



                          1          Under Rule 41 of the Federal Rules of Civil Procedure, Plaintiff XR
                          2    Communications, LLC, dba Vivato Technologies and Defendant Newo Corporation
                          3    move, stipulate, and agree that:
                          4          • the action, Case No. 5:17-cv-00744-AG, between Vivato and Newo shall be
                          5            dismissed with prejudice (but the lead case and the other member cases shall
                          6            not be dismissed), subject to the Settlement Agreement of June 15, 2018,
                          7            whose terms shall remain confidential; and
                          8          • each of the parties shall bear its own costs, expenses, and attorney’s fees.
                          9
                         10     DATED: September 18, 2018               Respectfully submitted,
                         11
RUSS, AUGUST & KABAT




                                                                         RUSS AUGUST & KABAT
                         12
                         13
                                                                         By: /s/ Reza Mirzaie
                         14                                              Marc A. Fenster
                         15                                              Reza Mirzaie
                                                                         Philip X. Wang
                         16                                              Kent N. Shum
                         17                                              Christian Conkle
                                                                         Minna Y. Chan
                         18
                         19                                              Attorneys for Plaintiff
                                                                         XR COMMUNICATIONS, LLC,
                         20
                                                                         dba VIVATO TECHNOLOGIES
                         21
                         22
                                                                        DLA PIPER LLP
                         23
                         24
                                                                        By: /s/ John M. Guaragna
                         25                                             John M Guaragna
                                                                        Email: john.guaragna@dlapiper.com
                         26
                                                                        DLA Piper LLP
                         27                                             401 Congress Avenue Suite 2500
                                                                        Austin, TX 78701
                         28
                                                                        Tele: 512/457-7000
                                                                             1
                                                          JOINT STIPULATION OF DISIMISSAL WITH PREJUDICE
                       Case 8:17-cv-00596-AG-JCG Document 158 Filed 09/18/18 Page 4 of 5 Page ID #:5676



                          1                                          Fax: 512/457-7001
                                                                     Attorneys for Defendant
                          2                                          NEWO CORPORATION d/b/a
                          3                                          AMPED WIRELESS

                          4
                          5
                          6
                          7
                          8
                          9
                         10
                         11
RUSS, AUGUST & KABAT




                         12
                         13
                         14
                         15
                         16
                         17
                         18
                         19
                         20
                         21
                         22
                         23
                         24
                         25
                         26
                         27
                         28
                                                                             2
                                                       JOINT STIPULATION OF DISIMISSAL WITH PREJUDICE
                       Case 8:17-cv-00596-AG-JCG Document 158 Filed 09/18/18 Page 5 of 5 Page ID #:5677



                          1                              CERTIFICATE OF SERVICE
                          2          I certify that I caused the foregoing document to be electronically filed with
                          3    the Clerk of the Court for the United States District Court for the Central District
                          4    of California using the CM/ECF System on September 18, 2018
                          5          I certify that all participants in the case are registered CM/ECF users and
                          6    that service will be accomplished by the court’s CM/ECF system.
                          7
                          8
                          9
                                                                                    /s/ Reza Mirzaie
                         10                                                    Reza Mirzaie
                         11
RUSS, AUGUST & KABAT




                         12
                         13
                         14
                         15
                         16
                         17
                         18
                         19
                         20
                         21
                         22
                         23
                         24
                         25
                         26
                         27
                         28
                                                                                 3
                                                           JOINT STIPULATION OF DISIMISSAL WITH PREJUDICE
